Case 2:03-cr-20425-.]PI\/| Document 101 Filed 07/06/05 Page 1 of 2 Page|D 136

 

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FoR THE WESTERN DISTRICT TENNESSEE
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UNITED sTATEs oF AMERICA, CLEBK. U‘S. DfSTH;t;TOOlm
' W/D OF TN, MEM=HS
Plaintiff,
vs. No.: 03-2()425~M
GEORGE ARMSTRONG,
Defendant.

 

ORDER ON DEFENDANT GEORGE AR_MSTRONG’S
MOTION TO CONTINUE

 

This matter came to be heard upon the Motion of the defendant George
Arrnstrong for a continuance the sentencing date in this matter. Thc Court finds that this

motion is well taken and should be granted, and this matter should set for sentencing on

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JUDGE

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UNITED `SETATS DISTRICT COURT - WTER D'S'TRCT OFTENNESSEE

   

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Honorable .l on McCalla
US DISTRICT COURT

